                       UNITED STATES DISTRICT COURT

                  FOR THE MIDDLE DISTRICT OF TENNESSEE

                             NASHVILLE DIVISION

R. ALEXANDER ACOSTA,                       )
Secretary of Labor, United                 )
States Department of Labor,                )
                                           )   Case No. 3:17-CV-01585
             Plaintiff                     )
                                           )   Chief Judge Crenshaw/
v.                                         )    Magistrate Judge Brown
                                           )
HETAL PATEL, INC., d/b/a                   )
WOODLANDS INDIAN VEGETARIAN                )
CUISINE, PANKAJ PATEL, HETAL               )
PATEL, and MADHUSUDHAN NAIK,               )
                                           )
             Defendants                    )

                 JOINT MOTION FOR ENTRY OF CONSENT ORDER
                         AND PERMANENT INJUNCTION

             The Plaintiff, the Secretary of Labor, United States

Department of Labor, and the Defendants, Hetal Patel, Inc., Pankaj

Patel, Hetal Patel, and Madhusudhan Naik, give notice to the Court

that they have resolved the matter captioned above. The Defendants

have agreed to pay $220,000.00 in back wages and liquidated damages

as described in the attached order. The Defendants also agree that

they will consent to the entry of a permanent injunction, as to

the corporate defendant Hetal Patel, Inc., and the three individual

defendants, requiring compliance with the Fair Labor Standards Act

of 1938, 29 U.S.C. § 201, et seq. In exchange, the Plaintiff has

agreed not to assess civil money penalties against the Defendants

for the violations at issue.

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